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ex reI. PAULA C. LORONA,
Plaintiff,
vs. Case No. 3:15-cv-959-J-34JRK

INFILAW CORPORATION, a Delaware FlI.ED UNDER SEAL PURSUANT
Corporation; ARIZONA SUMMIT LAW TO 31 U.S.C. § 3730(|))

SCHOOL, LLC, a Delawarc Limited

Liability Company; FLORIDA COAS'I`AL

SCHOOL OF LAW, a Florida Corporation;

CHARLOTTE SCHOOL OF LAW, a

Delaware Limited Liability Company,

 

Defendants.
/
UNITED STATES’ NOTICE OF
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Pursuant to the False Clairns Act, 31 U.S.C. § 3730(b)(4)(B), the United States
notifies the Court of its decision not to intervene in this action.

Although the United States declines to intervene, we respectfully refer the Court to
31 U.S.C. § 3730(b)(1), which allows the relator to maintain the action in the name of the
United States; providing, however, that the “action may be dismissed only if the court and
the Attomey General give written consent to the dismissal and their reasons for
consenting.” Id. Therefore, the United States respectiillly requests that, should either the
relator or the defendants propose that this action be dismissed, settled, or otherwise
discontinued, this Court solicit the written consent of the United States before ruling or

granting its approval.

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Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States respectfully
requests that all pleadings filed in this action be served upon the United States, and that any
Orders, Notices, and other papers issued by the Court be sent to Govemment’s counsel as
well. The United States reserves its right to order any deposition transcripts and to

intervene in this action, for good cause, at a later date. The United States also requests that
it be served with all notices of appeal.

Finally, the Govemment requests that the relator’s complaint. this notice, and the
attached proposed order be unsealed. 'I'he United States requests that all other papers on
file in this action remain under seal because in discussing the content and extent of the
United States’ investigation such papers were provided by law to the Court ex pane for the
sole purpose of evaluating whether the seal and time for making an election to intervene
should be extended.

A proposed order accompanies this notice for the Court’s consideration and review.

Dated: February _[_Q, 2018 Respectfully submitted,

MARIA CHAPA LOPEZ
United States Attomey

By: /r //’ M _ ////L'/-/
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C§KI:IFICATE OF SERVICE
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I hereby certify that on this |@ day of February, 2018, true and correct copies of the

foregoing United States' Notice of Election to Decline Intervention was served by lirst~class

mail, postage pre-paid, on the following counsel of record:

 

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